        Case 1:22-cv-00134-LY Document 54 Filed 03/08/22 Page 1 of 2




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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

NETLIST, [NC.,

                    Plaintiff,
                                                 Civil Action No. 1 :22-cv-0O 1 34-LY
V.

                                                 JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC., MICRON
SEMICONDUCTOR PRODUCTS, [NC., and
MICRON TECHNOLOGY TEXAS LLC,

                    Defendants.


NETLIST, [NC.,

                    Plaintiff,

V.


MICRON TECHNOLOGY, INC., MICRON
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS LLC,

                     Defendants.


                         PRE-MARKMAN SCHEDULING ORDER

       On March 3, 2022, the parties appeared before the Court through counsel for the Initial

Pretrial Conference and conferred about case management deadlines. The Court, having

considered the recommendations of counsel, hereby ORDERS that the stay imposed by this

Court's Order of February 16, 2022 (Doc. No. 47 in C.A. 1:22-CV-134-LY; Doc. No. 46 in C.A.

1:22-C V-136-LY) is LIFTED for the proceedings specified in this Order, and further ORDERS

the following Case Management Deadlines:
         Case 1:22-cv-00134-LY Document 54 Filed 03/08/22 Page 2 of 2




 Case Management Deadlines                       Date

 Responsive Claim Construction Brief             March 10, 2022

 Reply Claim Construction Brief                   March 24, 2022

 Sur-Reply Claim Construction Brief               April 7, 2022

 Joint Claim Construction Statement               April 14, 2022



       IT IS FURTHER ORDERED that this case is set for a tutorial to the Court at 9:30 a.m.

on May 12, 2022, Courtroom 7, 7th Floor, United States Courthouse, 501 West Fifth Street,

Austin, Texas.

       IT IS FURTHER ORDERED that the claim construction hearing is set immediately

following the tutorial on May 12, 2022.

       IT IS FURTHER ORDERED that no party shall engage in any discovery other than with

respect to the claim construction proceedings as described in this Order without further order of

the Court, unless by agreement of the parties and approval of the Court.



SIGNED this            day of March, 2022.



                                                     UNITED STATES




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